
PER CURIAM.
The foregoing three cases consolidated here are direct appeals from decisions of the trial Court holding unconstitutional Section 847.011,. Florida Statutes, F.S.A., generally known as the Florida Obscene Literature Law. All questions presented here were decided by this Court adversely to the appellees in the cases of State v. Reese, 222 So.2d 732, filed May 7, 1969.
*286Accordingly the judgments m the cases sub judice are reversed and remanded on the authority of the above cited cases, and for further proceedings not inconsistent with same.
It is so ordered.
ROBERTS, Acting C. J., and DREW, CARLTON, ADKINS and BOYD, JJ., concur.
